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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. 1:17-cv-20633-RNS

   MARCEL SEIDE,

               Plaintiff
         v.

   CACH, LLC

               Defendant
   _____________________________________/

                              JOINT STATUS REPORT

        In accordance with the Court’s April 27, 2018 Order [DE 14], the parties,

  by their respective undersigned counsel, respectfully submit this Joint Status

  Report.

        Having met and conferred regarding this case and the issues posed

  therein, the parties agree that the stay is due to be lifted. The parties further

  agree that in light of CACH’s bankruptcy proceedings, this case should be

  dismissed with prejudice and with each party to bear its own fees and costs. As

  such, they respectfully request that this Honorable Court enter an Order lifting

  the stay, after which Plaintiff will file a request for dismissal of this case in

  accordance with Fed. R. Civ. P. 41(a)(10(A)(ii).

                                        Respectfully submitted,

   s/ Seth Wieder, Esq.                     s/ Lauren M. Burnette
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   Counsel for Plaintiff                  Counsel for Defendant

  Dated: May 11, 2018

                           CERTIFICATE OF SERVICE


        I certify that on May 11, 2018, a true copy of the foregoing document was

  served on all counsel of record via CM/ECF.

                                 Respectfully submitted,

                                 BARRON & NEWBURGER, P.C.


                           By:   /s/ Lauren M. Burnette
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  Dated: May 11, 2018
